       Case 1:07-cr-00217-SM     Document 24     Filed 04/25/08   Page 1 of 2




                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                               Case No. 07-cr-217-01/02-SM

William L. Twining and
Shirley Bruce

                                    ORDER

      Defendant Bruce’s motion to continue the final pretrial conference and trial

is granted (document 23). Trial has been rescheduled for the June 2008 trial

period. Defendant Bruce shall file a waiver of speedy trial rights not later than

May 5, 2008. On the filing of such waiver, her continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: May 30, 2008 at 4:00 p.m.

      Jury Selection: June 3, 2008 at 9:30 a.m.
      Case 1:07-cr-00217-SM    Document 24   Filed 04/25/08   Page 2 of 2




      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

April 25 , 2008

cc:   Stanley Norkunas, Esq.
      Bjorn Lange, Esq.
      Peter Papps, AUSA
      US Probation
      US Marshal




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